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                               UN ITED STA TES D ISTRICT C OU RT
                               SO U TH ERN D ISTRICT OF FLO RIDA

                                 CaseN o. 13-80385-Civ-Brannon

 SU N LIFE A SSU R AN CE CO M PAN Y
 OF CAN A D A ,

               Plaintiffts),


 IM PERIAL H OLD W G S IN C.,eta1.,

               Defendantts).
                                          /

               O RD ER M EM O RIA LIZIN G RU LIN G S A T M O TION H EA RIN G

        TH IS CA U SE isbefore the Courtfollow ing a m otion hearing held on D ecem ber9,2014,

 on Defendants'M otion to DismissSecond Amended CivilAction Complaint.(DE 153). After
 hearing argum ent from both sides,the Coul'
                                           t ruled from the bench. D efendants' m otion is

 G R AN TED in partand D EN IED in part. To m em orialize the rulings atthe hearing,and forthe

 reasonsstated in open Court,the CourtO RDERS as follow s:

        Defendants'M otion to Dismiss Countlalleging RICO violationsunder 18 U.S.C.jj
 1962(a)and(c)isherebyDENIED.
        D efendants' M otion to Dism iss Count 11 alleging RICO Conspiracy in violation of 18

 U.S.C.j l962(d)isherebyGRANTED.Count11isdismissedwith prejudice.
        D efendants'M otion to D ism issCount111alleging Fraud is hereby DEN IED .

        D efendants'M otion to D ism iss CountIV alleging A iding and A betting Fraud is hereby

 GRANTED.CountIV isdismissedwithprejudice.
        D efendants'M otion to D ism iss CountV alleging Civil Conspiracy to Com m itFraud is

 herebyGRANTED.CountV isdismissedwithprejudice.
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       D efendants'M otion to D ism issC ountV 1alleging Tortious Interference w ith Contractual

 RelationsisherebyGRANTED.CountVIisdismissedwithprejudice.
       D efendants' M otion to D ism iss Count V ll, seeking a D eclaratory Judgm ent under 28

 U.S.C.j2201,isherebyGRANTED.CountVlIisdismissedwithprejudice.
          is further O RDERED that D efendants shall file an answer to Plaintiff's Second

 Am ended CivilAction Com plainton orbefore Friday,D ecem ber 19,2014.

       DONE and ORDERED in Cham bers at W est Palm Beach in the Southern District of
 Fl          j-i-.
  orida,thisj dayofDecember,2014.
                                                        6    x -   /w
                                                    DA V E LEE BR AN N ON
                                                    U .S.M A GISTR ATE JUD G E
